

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-78,456-01






EX PARTE JOHN FRANCIS WHITLOCK, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 68579-A IN THE 426TH DISTRICT COURT


FROM BELL COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty to aggravated sexual
assault of a child, and was sentenced to forty years' imprisonment.  He did not appeal his conviction.

	Applicant contends, inter alia, that his trial counsel rendered ineffective assistance because 
counsel scared him into entering a plea by advising him that if he did not accept the plea offer, he
would be subject to prosecution by federal authorities and by other counties, and that he would
receive a life sentence.  Applicant also alleges that counsel did not request probation, although
Applicant had no prior felony convictions.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 668 (1984); Ex parte Patterson, 993 S.W.2d 114, 115 (Tex. Crim. App. 1999).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall order trial counsel to respond to Applicant's claim of ineffective assistance of counsel. 
Specifically, counsel shall state what investigation he performed in this case, what advice he gave
Applicant with respect to his options for disposition of this case, and whether he advised Applicant
that he would receive a life sentence if he did not plead guilty pursuant to the State's plea offer.  The
trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. 
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall first supplement the habeas record with copies of the written
admonishments signed by Applicant in this case, and with a transcript of the plea hearing if one
exists.  The trial court shall then make findings of fact and conclusions of law as to whether the
performance of Applicant's trial counsel was deficient and, if so, whether counsel's deficient
performance prejudiced Applicant.  The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 


Filed: November 14, 2012

Do not publish


